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                             No. 23-50224

In the United States Court of Appeals for the Fifth Circuit
                           _____________

Leila Green Little; Jeanne Puryear; Kathy Kennedy; Rebecca
    Jones; Richard Day; Cynthia Waring; Diane Moster,
                                          Plaintiffs-Appellees,
                                   v.
  Llano County; Ron Cunningham, in his official capacity as
Llano County Judge; Jerry Don Moss, in his official capacity as
    Llano County Commissioner; Peter Jones, in his official
capacity as Llano County Commissioner; Mike Sandoval, in his
    official capacity as Llano County Commissioner; Linda
       Raschke, in her official capacity as Llano County
 Commissioner; Amber Milum, in her official capacity as Llano
   County Library System Director; Bonnie Wallace, in her
   official capacity as Llano County Library Board Member;
   Rochelle Wells, in her official capacity as Llano County
    Library Board Member; Rhoda Schneider, in her official
capacty as Llano County Library Board Member; Gay Baskin, in
 her official capacity as Llano County Library Board Member,
                                    Defendants-Appellants.
                           _____________

             On Appeal from the United States District Court
                   for the Western District of Texas
                        Case No. 1:22-cv-424-RP
                          _____________

   Motion To Dismiss Claims Against Llano County
     Library Advisory Board Members As Moot
                           _____________

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               Certificate of Interested Persons
     Counsel of record certifies that the following persons and entities as described
in the fourth sentence of Fifth Circuit Rule 28.2.1 have an interest in the outcome
of this case. These representations are made in order that the judges of this Court
may evaluate possible disqualification or recusal.
              Plaintiffs                            Plaintiffs’ Counsel
•   Leila Green Little                Ellen V. Leonida
•   Jeanne Puryear                    Matthew Borden
•   Kathy Kennedy                     J. Noah Hagey
•   Rebecca Jones                     Max Bernstein
•   Richard Day                       Ellis E. Herington
•   Cynthia Waring                    Marissa Benavides
•   Diane Moster                      BraunHagey & Borden LLP

                                      Ryan A. Botkin
                                      Katherine P. Chiarello
                                      María Amelia Calaf
                                      Kayna Stavast Levy
                                      Wittliff | Cutter PLLC
            Defendants                            Defendants’ Counsel
•   Llano County                      Jonathan F. Mitchell
•   Ron Cunningham                    Mitchell Law PLLC
•   Jerry Don Moss
•   Peter Jones                       Dwain K. Rogers
•   Mike Sandoval                     Matthew L. Rienstra
•   Linda Raschke                     Llano County Attorney’s Office
•   Amber Milum
•   Bonnie Wallace
•   Rochelle Wells
•   Rhonda Schneider
•   Gay Baskin


                                             /s/ Jonathan F. Mitchell
                                           Jonathan F. Mitchell
                                           Counsel for Defendants-Appellants
                                           i
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    Four of the named defendants in this lawsuit were sued in their official capaci-

ties as members of the Llano County Library Advisory Board: Bonnie Wallace, Ro-

chelle Wells, Rhonda Schneider,1 and Gay Baskin. These defendants no longer

serve on the Llano County Library Advisory Board because each of their terms has

expired. See Cunningham Decl. ¶¶ 4–6 & Ex. A. The terms to which Ms. Wells,

Ms. Schneider, and Ms. Baskin were appointed expired on December 31, 2024, and

the term to which Ms. Wallace was appointed expired on December 31, 2023. See

Cunningham Decl. ¶¶ 5–6 & Ex. A. Ms. Wells also resigned her position on the

Llano County Library Advisory Board before the expiration of her term and moved

to Italy. See Wells Decl. ¶ 4 & Ex. A; Cunningham Decl. ¶ 8.

    There are no longer any individuals serving on the Llano County Library Advi-

sory Board because every appointee’s term has expired, and Llano County will not

be appointing anyone to the Llano County Library Advisory Board while this litiga-

tion remains pending. See Cunningham Decl. ¶¶ 9–10. The plaintiffs’ claims

against Ms. Wallace, Ms. Wells, Ms. Schneider, and Ms. Baskin are therefore moot,

as the plaintiffs are seeking only prospective relief and sued these defendants in

their official capacity. ROA.39; ROA.44–45 (¶ 24); ROA.68; see also Church of Sci-

entology v. United States, 506 U.S. 9, 12 (1992) (a claim becomes moot when “an

event occurs while a case is pending on appeal that makes it impossible for the court

to grant any effectual relief whatever to a prevailing party . . .”); Arizonans for Offi-


1. Rhonda Schneider’s first name is misspelled in the caption as “Rhoda.” We
   have used the court-assigned caption in spite of this error. We will file a separate
   motion to amend the caption to correct the spelling of Ms. Schneider’s name.


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cial English v. Arizona, 520 U.S. 43, 68 n.23 (1997) (“It is the duty of counsel to

bring to the federal tribunal’s attention, ‘without delay,’ facts that may raise a ques-

tion of mootness.” (quoting Board of License Commissioners of Tiverton v. Pastore,

469 U.S. 238, 240 (1985) (per curiam))). The Court should dismiss as moot all

claims against Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin

and remove their names from the caption.
    The plaintiffs-appellees oppose this motion and will file a written response.

                                         Respectfully submitted.

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Dated: January 7, 2025                   Counsel for Defendants-Appellants




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                     Certificate of Conference
     I certify that I have conferred with Katherine Chiarello, counsel for the plain-
tiffs-appellees, and they oppose this motion. They also intend to file a written re-
sponse.


                                        /s/ Jonathan F. Mitchell
                                       Jonathan F. Mitchell
                                       Counsel for Defendants-Appellants




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                          Certificate Of Service
    I certify that on January 7, 2025, this document was electronically filed with the
clerk of the court for the U.S. Court of Appeals for the Fifth Circuit and served
through CM/ECF upon:

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                                       /s/ Jonathan F. Mitchell
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                    Certificate of Compliance
               with type-volume limitation, typeface requirements,
                           and type-style requirements

1.    This brief complies with the type-volume limitation of Fed. R. App. P.
      27(d)(2) because it contains 396 words, excluding the parts of the brief ex-
      empted by Fed. R. App. P. 32(f ).

2.    This brief complies with the typeface and type-style requirements of Fed. R.
      App. P. 27(d)(1)(E), 32(a)(5), and Fed. R. App. P. 32(a)(6) because it uses
      Equity Text B 14-point type face throughout, and Equity Text B is a propor-
      tionally spaced typeface that includes serifs.



                                             /s/ Jonathan F. Mitchell
                                            Jonathan F. Mitchell
Dated: January 7, 2025                      Counsel for Defendants-Appellants




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            Certificate of Electronic Compliance
    Counsel also certifies that on January 7, 2025, this document was transmitted
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Circuit, through http://www.pacer.gov.
    Counsel further certifies that: (1) required privacy redactions have been made,
5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
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cent version of VirusTotal and is free of viruses.



                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Defendants-Appellants




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